Case 20-67784-jwc   Doc 55   Filed 02/14/22 Entered 02/14/22 14:50:46   Desc Main
                             Document      Page 1 of 4
Case 20-67784-jwc   Doc 55   Filed 02/14/22 Entered 02/14/22 14:50:46   Desc Main
                             Document      Page 2 of 4
Case 20-67784-jwc   Doc 55   Filed 02/14/22 Entered 02/14/22 14:50:46   Desc Main
                             Document      Page 3 of 4
Case 20-67784-jwc   Doc 55   Filed 02/14/22 Entered 02/14/22 14:50:46   Desc Main
                             Document      Page 4 of 4
